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 1   Brian C. Rocca, State Bar No. 221576              Douglas J. Dixon, State Bar No. 275389
     brian.rocca@morganlewis.com                       ddixon@hueston.com
 2   MORGAN, LEWIS & BOCKIUS LLP                       HUESTON HENNIGAN LLP
     One Market, Spear Street Tower                    620 Newport Center Drive, Suite 1300
 3   San Francisco, CA 94105                           Newport Beach, CA 92660
     Telephone: (415) 442-1000                         Telephone: (949) 229-8640
 4
     Glenn D. Pomerantz, State Bar No. 112503          Counsel for Plaintiffs Match Group, LLC;
 5   glenn.pomerantz@mto.com                           Humor Rainbow, Inc.; PlentyofFish Media
     MUNGER, TOLLES & OLSON LLP                        ULC; and People Media, Inc.
 6   350 South Grand Avenue, Fiftieth Floor
     Los Angeles, California 90071
 7   Telephone: (213) 683-9100
 8   Counsel for Defendants Google LLC, et al.
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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN FRANCISCO DIVISION

14   IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
15                                                     JOINT STIPULATION OF VOLUNTARY
     THIS DOCUMENT RELATES TO:                         DISMISSAL OF ENTIRE ACTION WITH
16                                                     PREJUDICE PURSUANT TO RULE
                                                       41(a)(1)(A)(ii)
17   Match Group, LLC, et al., v. Google LLC et al.,
     Case No. 3:22-cv-02746-JD
18                                                     Judge: Hon. James Donato

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                        JOINT STIPULATION OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
                                WITH PREJUDICE PURSUANT TO RULE 41(a)(1)(A)(ii)
                                    Case Nos. 3:21-md-02981-JD; 3:22-cv-02746-JD
                 Case 3:22-cv-02746-JD Document 252 Filed 10/31/23 Page 2 of 3




 1          WHEREAS, Plaintiffs Match Group, LLC; Humor Rainbow, Inc.; PlentyofFish Media ULC;

 2   and People Media, Inc. (collectively, “Match Group”) first filed this action (Case No. 3:22-cv-02746-

 3   JD) on May 9, 2022 (ECF No. 1);

 4          WHEREAS, Defendants Google LLC; Google Ireland Limited.; Google Commerce Ltd.;

 5   Google Asia Pacific Pte. Ltd.; and Google Payment Corp. (collectively, “Google”) first filed

 6   counterclaims in this action on July 11, 2022 (ECF No. 55);

 7          WHEREAS, Match Group and Google have reached an agreement to dismiss the above-

 8   entitled action (Case No. 3:22-cv-02746-JD), including all claims and counterclaims asserted herein,

 9   with prejudice and with each side to bear their own attorneys’ fees and costs;

10          THEREFORE, Match Group and Google, by and through their respective counsel, stipulate as

11   follows:

12          1.      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the above-entitled action

13   (Case No. 3:22-cv-02746-JD), including all claims and counterclaims, shall be dismissed in its entirety

14   with prejudice; and

15          2.      The Parties shall bear their own attorneys’ fees and costs.

16          IT IS SO STIPULATED.

17          Dated: October 31, 2023               MORGAN, LEWIS & BOCKIUS LLP
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                                                  By: /s/ Brian C. Rocca
19                                                   Brian C. Rocca
                                                     Counsel for Defendants Google LLC et al.
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            Dated: October 31, 2023               MUNGER, TOLLES & OLSON LLP
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                                                  By: /s/ Glenn D. Pomerantz
22
                                                     Glenn D. Pomerantz
23                                                   Counsel for Defendants Google LLC et al.

24          Dated: October 31, 2023               HUESTON HENNIGAN LLP

25                                                By: /s/ Douglas J. Dixon
                                                     Douglas J. Dixon
26                                                   Counsel for Plaintiffs Match Group, LLC; Humor
27                                                   Rainbow, Inc.; PlentyofFish Media ULC; and People
                                                     Media, Inc.
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                           JOINT STIPULATION OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
                                   WITH PREJUDICE PURSUANT TO RULE 41(a)(1)(A)(ii)
                                       Case Nos. 3:21-md-02981-JD; 3:22-cv-02746-JD
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               Case 3:22-cv-02746-JD Document 252 Filed 10/31/23 Page 3 of 3



                                           E-FILING ATTESTATION
 1

 2          I, Joseph A. Reiter, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 4   identified above has concurred in this filing.
 5

 6                                                       /s/ Joseph A. Reiter
                                                         Joseph A. Reiter
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                           JOINT STIPULATION OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
                                   WITH PREJUDICE PURSUANT TO RULE 41(a)(1)(A)(ii)
                                       Case Nos. 3:21-md-02981-JD; 3:22-cv-02746-JD
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